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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


In re:                                     §       Chapter 11
                                           §
LOCKWOOD HOLDINGS, INC., et al.,           §       Case No. 18-30197 (DRJ)
                                           §
               Debtors.                    §       Jointly Administered


                    NOTICE OF APPEARANCE, REQUEST FOR
                SERVICE OF PAPERS AND RESERVATION OF RIGHTS

         PLEASE TAKE NOTICE that, pursuant to Section 1109(b) of Title 11 of the United

States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”) and Rules 2002 and 9010(b) of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), LeClairRyan, a

Professional Corporation, hereby enters its appearance on behalf of Pusan Pipe America, Inc.

d/b/a SeAH Steel America, Inc. (“SeAH”) and requests that all notices given or required to be

given and all papers served in this case be delivered to and served upon the party identified

below at the following address:

                                     Jason M. Medley, Esq.
                          LECLAIRRYAN, A PROFESSIONAL CORPORATION
                               1233 West Loop South, Suite 1000
                                     Houston, Texas 77027
                                  Telephone: (713) 752-8317
                                  Facsimile: (713) 650-0027
                             Email: Jason.medley@leclairryan.com

         PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the

Bankruptcy Code, the foregoing demand not only includes notices and papers referred to in the

above-mentioned Bankruptcy Rules, but also includes, without limitation, all notices, orders,

pleadings, motions, applications, complaints, demands, hearings, request, answers, replies,

memoranda and briefs in support of any of the above, whether formal or informal, transmitted or
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conveyed by electronic delivery, mail delivery, telephone, facsimile or otherwise, in this case.

       PLEASE TAKE FURTHER NOTICE that this notice of appearance, and any

subsequent appearance, pleading, claim, or suit, is not intended, nor shall be deemed, to waive

SeAH’s: (i) right to contest the subject matter or personal jurisdiction of this Court; (ii) right to

seek abstention or withdrawal of any matter arising in this proceeding; (iii) right to have final

orders in non-core matters entered only after de novo review by a United States District Court

Judge; (iv) right to trial by jury in any proceeding so triable herein or in any case, controversy or

proceeding related hereto; (v) right to have the reference withdrawn by a United States District

Court Judge in any matter subject to mandatory or discretionary withdrawal; (vi) right to enforce

any contractual provisions with respect to arbitration; or (vii) other rights, claims, actions,

defenses, setoffs or recoupments to which SeAH is or may be entitled under agreements, in law,

or in equity, all of which rights, claims, actions, defenses, setoffs, and recoupments expressly are

hereby reserved.

       PLEASE TAKE FURTHER NOTICE that this appearance is a limited appearance for

purposes of notice only. Accordingly, this Notice of Appearance is not to be construed as a

waiver of any rights, including, without limitation, the right to contest jurisdiction or service of

process or to demand trial by jury of any issue.




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Dated: February 7, 2018




                                   LeClairRyan, a Professional Corporation


                                   /s/ Jason M. Medley
                                   Jason M. Medley
                                   SBN: 24013153
                                   LeClairRyan, a Professional Corporation
                                   1233 West Loop South, Suite 1000
                                   Houston, Texas 77027
                                   Telephone: (713) 752-8317
                                   Facsimile: (713) 650-0027
                                   Email: Jason.medley@leclairryan.com
                                   Attorneys for Pusan Pipe America, Inc.
                                   d/b/a SeAH Steel America, Inc.
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                                CERTIFICATE OF SERVICE

       I certify that on February 7, 2018, I caused the attached Notice of Appearance and

Demand for Service of Papers to be electronically filed with the Clerk, United States Bankruptcy

Court, Southern District of Texas, by ECF and a true and correct copy of the foregoing was

served upon the parties who have requested e-notice, via the CM/ECF electronic notice system.

        I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me is willfully false, I am subject to punishment.


Dated: February 7, 2018
                                                By: /s/ Jason M. Medley
                                                    Jason M. Medley




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